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                      Exhibit C-1

              General Proof of Claim Form
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 UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Fill in the information to identify the case (Select only one Debtor per form):

      Boy Scouts of America Case No. 20-10343
      Delaware BSA, LLC Case No. 20-10342




Official Form 410
Proof of Claim                                                                                                                                                        04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of
claims under section 503(b)(9), do not use this form to make a request for payment of an administrative expense. Make such a request
according to 11 U.S.C. § 503. THIS FORM SHOULD NOT BE USED TO ASSERT AN ABUSE CLAIM. FOR INFORMATION ON HOW TO ASSERT
AN ABUSE PROOF OF CLAIM, GO TO: www.officialbsaclaims.com
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.




   Part 1:      Identify the Claim
1. Who is the current creditor?
                                           Name of the current creditor (the person or entity to be paid for this claim)

                                           Other names the creditor used with the debtor


2. Has this claim been acquired               No
   from someone else?                         Yes     From whom?

3. Where should notices and                Where should notices to the creditor be sent?                        Where should payments to the creditor be sent? (if
   payments to the creditor be                                                                                  different)
   sent?

   Federal Rule of                          Name                                                                 Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                                            Number          Street                                               Number          Street


                                            City                            State               ZIP Code         City                          State              ZIP Code


                                           Contact Phone                                                         Contact Phone

                                           Contact email                                                         Contact email

                                           Uniform claim identifier for electronic payments in chapter 13 (if you use one)



4. Does this claim amend one                  No
   already filed?                             Yes      Claim Number on court claims registry (if known)                                   Filed On
                                                                                                                                                     MM / DD / YYYY

5. Do you know if anyone else
                                              No
   has filed a proof of claim for
   this claim?                                Yes     Who made the earlier filing?




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   Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number you           No
   use to identify the debtor?
                                         Yes      Last 4 digits of the debtor's account or any number you use to identify the debtor:


7. How much is the claim?                    $                                            Does this amount include interest or other charges?
                                                                                            No
                                                                                            Yes       Attach statement itemizing interest, fees, expenses, or other
                                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the               Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                          Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                          Limit disclosing information that is entitled to privacy, such as health care information




9. Is all or part of the claim     No
   secured?                        Yes       The claim is secured by a lien on property

                                           Nature of property:
                                                 Real Estate If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                              Attachment (Official Form 410-A) with this Proof of Claim
                                                 Motor Vehicle

                                                 Other      Describe:


                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for example,
                                             a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                             recorded.


                                             Value of Property:                                 $
                                             Amount of the claim that is secured:               $

                                             Amount of the claim that is unsecured:             $                            (The sum of the secured and
                                                                                                                             unsecured amounts should match the
                                                                                                                             amount in line 7).


                                             Amount necessary to cure any default as of the date of the petition:                $


                                             Annual Interest Rate:      (when case was filed)       ____________%
                                                 Fixed
                                                 Variable



10. Is this claim based on a       No
    lease?                         Yes       Amount necessary to cure any default as of the date of the petition.                $

11. Is this claim subject to a     No
    right of setoff?               Yes       Identify the property:


12. Is this claim for the value    No
    of goods received by the       Yes       Amount of 503(b)(9) Claim: $
    debtor within 20 days
    before the
    commencement date of
    this case (11 U.S.C.
    §503(b)(9)).?



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13. Is all or part of the claim      No
    entitled to priority under                                                                                                                 Amount entitled to priority
                                     Yes      Check all that apply
    11 U.S.C. § 507(a)?
                                          Domestic support obligations (including alimony and child support) under
                                          11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                               $
    A claim may be partly
    priority and partly
                                          Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
    nonpriority. For example,
                                          personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $
    in some categories, the
    law limits the amount
                                          Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
    entitled to priority.
                                          bankruptcy petition is filed or the debtor's business ends, whichever is earlier. 11                 $
                                          U.S.C. § 507(a)(4).

                                          Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                $

                                          Contributions to an employee benefit plan 11 U.S.C. § 507(a)(5).                                     $


                                          Other. Specify subsection of 11 U.S.C. § 507(a)(___) that applies.                                   $

                                     * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.




   Part 3:         Sign Below
The person completing             Check the appropriate box:
this proof of claim must
                                     I am the creditor.
sign and date it.
FRBP 9011(b).                        I am the creditor's attorney or authorized agent.
                                     I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim
electronically, FRBP                 I am the guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes
courts to establish local         I understand that an authorized signature on this Proof of Claim serves as an acknowlegment that when calculating the
rules specifying what a
signature is.                     amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
A person who files a              and correct.
fraudulent claim could be
fined up to $500,000,             I declare under penalty of perjury that the foregoing is true and correct.
imprisoned for up to 5
years, or both.
18 U.S.C. §§ 152, 157, and        Executed on date
3571.                                                  MM / DD / YYYY



                                     Signature


                                  Print the name of the person who is completing and signing this claim:

                                  Name
                                                       First Name                           Middle Name                         Last Name


                                  Title

                                  Company
                                                       Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                       Number               Street



                                                       City                                              State                ZIP Code



                                  Contact Phone                                                          Email




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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                 12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                               A Proof of Claim form and any attached documents
                                                                          must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the                number, individual’s tax identification number, or
   date the case was filed.                                               financial account number, and only the year of any
                                                                          person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                        For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                       full name and address of the child’s parent or
   then state the identity of the last party who owned the                guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred               Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                          Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the          Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                       To receive confirmation that the claim has been filed, enclose
   definition of redaction on the next page.)
                                                                       a stamped self-addressed envelope and a copy of this form.
   Also attach redacted copies of any documents that show              You may view a list of filed claims in this case by visiting the
   perfection of any security interest or any assignments or           Claims Agent's website at www.OfficialBSAClaims.com.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                       Understand the terms used in this form
                                                                       Administrative expense: Generally, an expense that arises
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                       after a bankruptcy case is filed in connection with operating,
                                                                       liquidating, or distributing the bankruptcy estate.
                                                                       11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                       Claim: A creditor’s right to receive payment for a debt that
   information both in the claim and in the attached                   the debtor owed on the date the debtor filed for bankruptcy.
   documents.                                                          11 U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a           Secured claim under 11 U.S.C. §506(a): A claim backed by
debtor owes a debt that was incurred on or before the date the       a lien on particular property of the debtor. A claim is secured
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                    to the extent that a creditor has the right to be paid from the
                                                                     property before other creditors are paid. The amount of a
                                                                     secured claim usually cannot be more than the value of the
Debtor: A person, corporation, or other entity who is in
bankruptcy. Use the debtor’s name and case number as shown           particular property on which the creditor has a lien. Any
                                                                     amount owed to a creditor that is more than the value of the
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).
                                                                     property normally may be an unsecured claim. But exceptions
                                                                     exist; for example, see 11 U.S.C. § 1322(b) and the final
Evidence of perfection: Evidence of perfection of a security         sentence of 1325(a).
interest may include documents showing that a security
interest has been filed or recorded, such as a mortgage, lien,       Examples of liens on property include a mortgage on real
certificate of title, or financing statement.                        estate or a security interest in a car. A lien may be voluntarily
                                                                     granted by a debtor or may be obtained through a court
                                                                     proceeding. In some states, a court judgment may be a lien.
Information that is entitled to privacy: A Proof of Claim
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax            Setoff: Occurs when a creditor pays itself with money
identification number, or a financial account number, only the       belonging to the debtor that it is holding, or by canceling a
initials of a minor’s name, and only the year of any person’s        debt it owes to the debtor.
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services     Uniform claim identifier: An optional 24-character identifier
to avoid embarrassment or disclosure of confidential health          that some creditors use to facilitate electronic payment.
care information. You may later be required to give more
information if the trustee or someone else in interest objects to
                                                                     Unsecured claim: A claim that does not meet the
the claim.
                                                                     requirements of a secured claim. A claim may be unsecured in
                                                                     part to the extent that the amount of the claim is more than the
Priority claim: A claim within a category of unsecured               value of the property on which a creditor has a lien.
claims that is entitled to priority under 11 U.S.C. §507(a).
These claims are paid from the available money or
property in a bankruptcy case before other unsecured                 Offers to purchase a claim
claims are paid. Common priority unsecured claims
include alimony, child support, taxes, and certain unpaid            Certain entities purchase claims for an amount that is less than
wages.                                                               the face value of the claims. These entities may contact
                                                                     creditors offering to purchase their claims. Some written
                                                                     communications from these entities may easily be confused
Proof of claim: A form that shows the amount of debt the
                                                                     with official court documentation or communications from the
debtor owed to a creditor on the date of the bankruptcy filing.
                                                                     debtor. These entities do not represent the bankruptcy court,
The form must be filed in the district where the case is
                                                                     the bankruptcy trustee, or the debtor. A creditor has no
pending.
                                                                     obligation to sell its claim. However, if a creditor decides to
                                                                     sell its claim, any transfer of that claim is subject to
Redaction of information: Masking, editing out, or deleting          Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
certain information to protect privacy. Filers must redact or        Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
leave out information entitled to privacy on the Proof of            the bankruptcy court that apply.
Claim form and any attached documents.




Do not file these instructions with your form.
